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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------X
  STEVEN COOPER,

                                     Plaintiff,        SECOND AMENDED
                                                       COMPLAINT

                    -against-                          Plaintiff Demands
                                                       Trial by Jury
  THE CITY OF NEW YORK, POLICE LIEUTENANT
  THOMAS JACOBS, POLICE OFFICER JESSICA
  SCHRELL SHIELD NO. 26482, POLICE
  DEPARTMENT SERGEANT BRENDAN RYAN,POLICE
  OFFICER NICHOLAS HORUN, POLICE SERGEANT
  ADAM KATRINCIC, POLICE SERGEANT PEARL
  BARNHART, NYPD CAPTAIN DESMOND MORALES,
  DANIEL O’CONNOR, NEW YORK POLICE
  OFFICERS JOHN DOES 1-10 the identity
  of whom is presently unknown, in
  their individual and official
  capacities as New York City Police
  Officers;

                                  Defendants.

  ------------------------------------------X

        Plaintiff, Steven Cooper (“Cooper”) by his attorneys, BARRY

  R. FEERST & ASSOCIATES, alleges as follows:

                            JURISDICTION AND VENUE

        1.   This   Court   has   original   jurisdiction     over   Cooper’s

  constitutional and federal law claims pursuant to 28 U.S.C. §§



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  1331, 1343, and 2202 in that this action is brought pursuant to

  42 U.S.C. §§, 1983 and 1988, to redress the deprivation under

  color of law of Cooper's rights guaranteed by the First, Fourth,

  Fifth, Sixth, Eighth, and Fourteenth Amendments to the United

  States Constitution.

        2. Cooper further invokes the supplemental jurisdiction of

  this Court to adjudicate pendent State Law claims pursuant to 28

  U.S.C. § 1367.

        3. Venue is properly laid in the Eastern District of New

  York under 28 U.S.C. §1391(b), in that this is the District in

  which the events that gave rise to the claims asserted herein

  occurred within its boundaries.

                               NOTICE OF CLAIM

        4. On June 20, 2016, within ninety days after this claim

  arose, a notice of claim in writing on behalf of Cooper was

  served upon the CITY OF NEW YORK (“NYC”) in compliance with the

  General Municipal Law, by delivering a copy of the notice to the

  person designated by law as a person to whom such claims may be

  served, setting forth the facts underlying Cooper's claim. The

  claim was assigned the number 2016PI019014 by NYC Comptrollers’

  office.

        5. Cooper was subjected to an examination pursuant to N.Y.

  Gen. Mun. L. Sec. 50-h on September 14, 2016. At least thirty



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  days have elapsed since the service of the notice of claim, and

  no response has been received by Cooper and no compensation has

  been offered by NYC in response to this claim, who has neglected

  and failed to adjust the claim within the statutory time period.

          6.    This   action    has    been     commenced     within     one   year     and

  ninety days of the date of occurrence of the events giving rise

  to this action.

                                DEMAND FOR A JURY TRIAL

          7.    Pursuant   to    Rule    38    of     the   Federal     Rules   of   Civil

  Procedure,      Cooper    demands      a    trial    by   jury   of    all    issues    so

  triable.

                                          PARTIES

          8. Cooper is a citizen and resident of Kings County, New

  York.

          9. Daniel O’Connor (“O’Connor”) is a resident of the State

  of California.

          10. New York Police Department (“NYPD”) Lieutenant Thomas

  Jacobs (“Jacobs”), is an officer of the NYPD who works out of

  the 114th Precinct, located at 34-16 Astoria Boulevard, Astoria,

  NY 1103.

          11.    Police    Officer      Nicholas       Horun   (“Horun”),       Shield     #

  10848, is an officer of the NYPD who works out of the 90th

  precinct, located at 211 Union Avenue, Brooklyn, New York 11211.



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        12. Police Officer Jessica Schrell (“Schrell”), Shield #

  26482, is an officer of the NYPD who works out of the 90th

  Precinct, located at 211 Union Avenue, Brooklyn, New York 11211.

        13. Sergeant Adam Katrinic (“Katrinic”), Shield # 01319, is

  an officer of the NYPD who works out of Patrol Borough Brooklyn

  North, located at 179 Wilson Avenue, Brooklyn, New York 11237.

        14. Sergeant Pearl Barnhart (“Barnhart”) is an officer of

  the NYPD who works out of the 90th Precinct, located at 211 Union

  Avenue, Brooklyn, New York 11211.

        15. Captain Desmond Morales (“Morales”), Tax # 925772, is

  an officer of the NYPD who works out of the                  Patrol Borough

  Brooklyn North, located at 179 Wilson Avenue, Brooklyn, New York

  11237.

        16. Sergeant Brendan Ryan (“Ryan”), Shield #02840, is an

  officer of the NYPD who works out of the Office of the Deputy

  Commissioner of Public Information, located at 1 Police Plaza,

  Room 1320, New York, New York 10007.

        17. NYC is a municipal corporation duly incorporated under

  the laws of the State of New York pursuant to § 431 of its

  Charter.   NYC   is   authorized   by      law   to   maintain   the   NYPD,   a

  municipal agency of NYC with multiple Police Precincts including

  the 90th Police Precinct, which acts for it in the area of law

  enforcement, and for whose acts NYC is ultimately responsible.



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        18. NYC assumes the risks incidental to the maintenance of

  a   police    force     and   the     policies,         procedures,     and       practices

  implemented       through     its     various       agencies,        departments,          and

  employees, and for injury occasioned thereby. It is the public

  employer     of   the    police      officers,      detectives,       supervisory          and

  administrative          personnel      within        the      NYPD,     which           hired,

  supervised,       trained,        retained        and      controlled        the        police

  officers,      detectives      and     supervisory         personnel        in    the     90th

  police    precinct       of   the    NYPD    named       as   individual         defendants

  herein and who have enforced the State laws at issue against

  Cooper.

        19. Schrell, Ryan, Jacobs, Horun, Katrinic, Morales, and

  Barnhart at all times relevant herein, were officers, employees

  and   agents      of    the   NYPD,    acting      under      color    of        State    law.

  Schrell, Ryan, Jacobs, Horun, Katrinic, Morales and Barnhart are

  sued in their individual and official capacities.

        20. At all times relevant, defendants John and Jane Doe 1

  through 10 were NYPD officers, detectives or supervisors acting

  under color of State law, whose real names and shield numbers

  are presently unknown to Plaintiff, and Cooper will amend the

  complaint to add the defendants’ true names once the identities

  of said defendants are discovered.

        21.    At   all    times      relevant      herein,     John    and    Jane        Doe   1



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  through 10 were acting as agents, servants and employees of NYC

  and said Defendants are sued in their individual and official

  capacities.

        22.   At   all    times   hereinafter   mentioned,    Schrell,    Ryan,

  Jacobs, Horun, Katrinic, Morales, Barnhart and JOHN and JANE DOE

  1 through 10, were duly sworn NYPD officers and were acting

  under the supervision of NYPD and according to their official

  duties.

        23.   At   all    times   hereinafter   mentioned,    Schrell,    Ryan,

  Jacobs,     Horun,     Katrinic,   Morales,   Barnhart,    and   JANE   DOE   1

  through 10, either personally or through co-employees of NYPD,

  were acting under color of State law and/or in compliance with

  the official rules, regulations, laws, statutes, customs, usages

  and/or practices of the State of New York and/or NYC.

        24.     Each and all of the acts of Schrell, Ryan, Jacobs,

  Horun, Katrinic, Morales, Barnhart, and JOHN and JANE DOE 1

  through 10 alleged herein were carried out by said defendants

  while acting within the scope of their employment by NYC.

                               STATEMENT OF FACTS

        25. On March 20, 2016 at approximately 4:00 p.m., Cooper

  was lawfully walking across the sidewalk on a public street

  named Broadway in Kings County, New York.

        26. At the time and place described in paragraph                  “26.”



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  above, Jacobs was operating a motor vehicle, in which O’Connor

  and a number of John Doe defendants, at least three of whom are

  NYPD officers, were in the vehicle.

        27. At the time described in paragraph “25.” above, the

  motor vehicle was exiting the ramp on the Brooklyn Side of the

  Williamsburg    Bridge   onto   Broadway,          ignored   the    stop    sign   at

  Broadway and struck Cooper, who was crossing from the east side

  to the west side of Broadway.

        28. After Cooper was struck by the motor vehicle, Jacobs

  reached Broadway and parked the vehicle in the middle of the

  street. Jacobs and O’Connor and a John Doe exited the vehicle

  and assaulted Cooper who had remained where he was standing,

  when struck by the vehicle.

        29. Cooper saw both Jacobs and O’Connor approaching him,

  and tried to flee by attempting to cross Broadway from the north

  side to the south side.

        30. Before Cooper crossed Broadway, O’Connor struck Cooper

  on the head, choked him and grabbed and shoved him into the

  middle of the roadway.

        31. Within seconds, Jacobs joined O’Connor in assaulting

  and   battering     Cooper.   Jacobs,        who   was   carrying    a     concealed

  firearm, brushed up against Cooper, who felt the firearm, with

  the   intent   of   putting   Cooper    in     immediate     fear    of    death   or



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  serious bodily injury.

        32. Cooper in fear of his life, fled from O’Connor and

  Jacobs, at which time Cooper’s hat fell to the ground.

        33. O’Connor and Jacobs continued to pursue Cooper.

        34.    Jacobs,       while   running       on    the   sidewalk    of    Broadway,

  attempted to pick up Cooper’s hat that was on the sidewalk and

  unable to maintain his balance, tumbled over and fell on the

  sidewalk face-first. Despite tumbling on his head, Jacobs got

  back on his feet and ran in the same direction where Cooper ran

  to seek refuge.

        35.     Cooper        initially        escaped         and    called        911    at

  approximately        4:15pm    and    told       the   911    dispatcher      about     the

  events and requested police assistance.

        36. During the 911 call, which is automatically recorded

  and   preserved,       O’Connor      and   Jacobs       apprehended      Cooper,        were

  heard punching and otherwise assaulting him.

        37.    The     911   operator    hearing         and   recording      the     vicious

  assault and beating on the phone, advised Cooper that the police

  were on the way and directed Cooper to head back towards the

  Broadway.

        38. As Cooper approached Broadway, and while on the phone

  with the 911 operator, Horun and Schrell operating a NYPD radio

  mobile      patrol    (“RMP”)      vehicle,       with       its   lights     and    siren



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  activated, intercepted Cooper.

          39. Cooper approached the RMP, and was then ordered by

  Horun    and    Schrell     to    get     in     the   RMP       vehicle    and   taken    to

  Roebling Street. In the backseat of the RMP vehicle, Cooper told

  Horun and Schrell what occurred and Horun told Cooper to “shut

  the fuck up.”

          40. At Roebling Street, Cooper saw Jacobs display his badge

  to the other NYPD officer and heard Jacob’s say that he was “on

  the job”. Cooper then expressed his wish to leave the scene and

  attend to his injuries since he believed he was free to leave

  and gave the officers his information. However, Katrincic and

  Morales told Cooper he was not free to leave and insisted that

  he   remain     in   the   RMP    vehicle        to    be   transported      to   the     90th

  precinct.

          41.    Without     an    arrest    warrant          or    probable    cause,      and

  lacking any legal justification, Cooper was unlawfully detained,

  against his will, and transported in the RMP vehicle to the 90th

  Precinct at which time Cooper was told to sit down and wait.

          42. As a result of the vehicle striking him and the bodily

  assault described in the paragraphs above, Cooper’s face, body,

  and right eye were so swollen and bleeding that he repeatedly

  pleaded       with   Schrell,     Horun,       Katrinic,         Morales,    Barnhart     and

  John Doe Police Officers for medical assistance.



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          43. Despite his request, Schrell, Horun, Katrinic, Morales,

  Barnhart, and John Doe Police Officers all told Cooper that he

  was fine and was therefore denied any medical treatment; and was

  forced to sit in the 90th Precinct for approximately two hours

  while    bleeding,   in   pain    and    suffering    mental   and    emotional

  distress.

          44. Cooper was told by Schrell, Horun, Katrinic, Morales,

  Barnhart and John Doe Police Officers that he could not leave

  because the NYPD Internal Affairs Bureau (“IAB”) were allegedly

  on their way to the 90th Precinct. Despite the fact that it is

  proper protocol for the IAB to question the officer and civilian

  when a civilian is injured by an officer, no one from the IAB

  interviewed Cooper on that day.

          45. Cooper, while in the 90th Precinct, visibly injured and

  in need of medical treatment from the assault inflicted on him

  by Jacobs, O’Connor, and the John Doe Police officers repeated

  that he needed medical attention, which was again ignored.

          46. At approximately 8:00pm, four hours after the assault,

  Cooper told Barnhart that he wanted to press criminal charges

  against Jacobs, O’Connor and all the John Doe Police officers

  involved.    Barnhart     asked   Cooper,      “are   you   sure?”,   to   which

  Cooper responded “yes, don’t you think I should based on what

  happened?” After hearing Cooper’s request, Barnhart told Cooper



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  he would be right back.

        47.   Thereafter,     Schrell,       Ryan,    Jacobs,   Horun,   Katrinic,

  Morales, Barnhart, and the John Doe Police Officers fabricated a

  scenario designed to result in the arrest of Cooper.

        48. Despite the visible injuries to Cooper and the 911

  recording     of    Cooper’s       beating,    at     approximately      10:30pm,

  Barnhart informed Cooper that he was under arrest, placed in a

  holding cell and then fingerprinted. Cooper was arrested based

  on Schrell, Ryan, Jacobs, Horun, Katrinic, Morales, Barnhart,

  and   the   John   Doe    Police    Officers       false   allegations    and   or

  omissions.

        49.    Schrell      Ryan,     Jacobs,    Horun,      Katrinic,     Morales,

  Barnhart    and    John   Doe     Police   Officers     all   participated      and

  otherwise approved in the false imprisonment, unlawful search

  and seizure, and False arrest of Cooper.

        50. On March 21, 2016, Cooper was given a desk appearance

  ticket, DAT serial No: 090-00121, charging Cooper with NY Pl

  120.00.01(assault in the third degree) and ordering Cooper to

  appear at court on April 25, 2016.

        51. In furtherance of their conspiracy, as described above,

  Schrell, Ryan, Jacobs, Horun, Katrinic, Morales, Barnhart and

  the John Doe Police Officers Conspiracy to deprive Cooper of his

  Constitutional rights guaranteed under the 4th and 14th Amendment



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  rights    to        be   free    from    unlawful     searches     and   seizures    and

  arrests.       On    March      23,   2016,   the    New   York   Post   published   an

  article about the incident and in the article Ryan stated a

  completely false statement to the New York Post stating that

  Jacobs was punched in the face by Cooper causing bruising and

  swelling to Jacobs, which upon its face was per se false and

  defamatory.

        52. On April 25, 2016, Cooper was arraigned under docket

  number 2016KN023559, falsely and maliciously charged Cooper with

  Assault in the third degree, Criminal Mischief in the fourth

  degree, Attempted assault in the third degree, Menacing in the

  third degree and Harassment in the second degree.

          53. The documents filed by Schrell, Ryan, Jacobs, Horun,

  Katrinic, Morales, Barnhart, and the John Doe Police Officers

  with the Criminal Court under said docket number were false,

  perjurious and filed in order to shield the defendants from

  liability.

          54. The aforementioned sworn allegations and documents were

  filed     by    Schrell,         Ryan,    Jacobs,     Horun,      Katrinic,   Morales,

  Barnhart, and the John Doe Police Officers in order to deceive

  the Court and to conceal the above mentioned acts of brutality

  and abuse of authority, and to otherwise avoid punishment for

  said acts by the NYPD or other investigative bodies.



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        55. The criminal case against Cooper was dismissed on the

  merits in Cooper’s favor on June 20, 2016.

        56. On or about March 2016, O’Connor was charged under case

  2016KN017021      with    assault,    menacing      and    harassment     that    he

  committed against Cooper.

        57.    Despite     Cooper’s    full   cooperation      with   the   District

  Attorney and without any input from or notice to Cooper, the

  victim, on November 21, 2016, O’Connor was allowed to negotiate

  a plea of disorderly conduct and sealing of the record.

        58. However, given the extent of then injuries suffered as

  a result of the vicious attack committed by O’Connor, the Court

  extended its Order of protection that it issued at O’Connor’s

  arraignment requiring O’Connor to stay away from Cooper until

  November 20, 2018.

        59. As a direct result of the assault, battery and tortious

  conduct     committed     by   Schrell,     Ryan,   Jacobs,      Horun,   Katrinic,

  Morales, Barnhart, the John Doe Police Officers and O’Connor,

  Cooper      has   been    permanently       injured       both    physically     and

  mentally.

        60. Before the assault and battery and tortious conduct of

  Schrell, Jacobs, Horun, Katrinic, Morales, Barnhart, the John

  Doe Police Officers and O’Connor, Cooper had no damage to his

  eyesight.



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        61. The beating of Cooper by Jacobs and O’Connor badly

  damaged     his   right     eye      requiring   a   procedure    of   cataract

  extraction with intraocular lens implantation in his right eye

  and the damage is permanent.

        62. Cooper now has permanent eye damage and must wear eye

  glasses.

        63. Cooper also suffers and continues to suffer emotional

  trauma as a result of the tortious conduct of Schrell, Ryan,

  Jacobs, Horun, Katrinic, Morales, Barnhart, the John Doe Police

  Officers and O’Connor.

                             FEDERAL CAUSES OF ACTION

                                      COUNT I
                        42 U.S.C. §1983 FALSE IMPRISONMENT

        64. Paragraphs “1.” through “63.” are repeated.

        65. After Cooper was unlawfully and falsely arrested he was

  taken to the 90th precinct where he was falsely imprisoned.

        66. Schrell, Horun, Katrinic, Morales, Barnhart and John

  Doe Police Officers did purposely, intentionally and maliciously

  present and make knowingly false sworn allegations and testimony

  against Cooper.

        67.   As    a    result   of    the   intentional   and    malicious   and

  knowingly false allegations, Cooper was charged with violating

  numerous sections of the Penal Law of the State of New York.




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          68. The unlawful and illegal imprisonment of Cooper caused

  him grievous harm.

          69.    Schrell,      Horun,   Katrinic,       Morales,    Barnhart       and   the

  John Doe Police Officers intended to confine Cooper; Cooper was

  conscious of the confinement; Cooper                     did not consent to the

  confinement and the confinement was not otherwise privileged

          70.    By    reason    of     the   aforementioned,        Cooper        suffered

  physical harm, great mental                 anguish and was deprived of his

  constitutional rights.

          71.    The   conduct     of     Schrell,      Horun,     Katrinic,       Morales,

  Barnhart, and the John Doe Police Officers caused Cooper to be

  falsely       arrested,      detained    and       imprisoned    without    reasonable

  suspicion or probable cause, thereby depriving Cooper of his

  right     to    be    free     from   unlawful        seizure    under     the    Fourth

  Amendment to the Constitution of the United States, in violation

  of 42 U.S.C. § 1983.

          72. Schrell, Horun, Katrinic, Morales, Barnhart, and the

  John    Doe    Police     Officers      intentionally      and     without       probable

  cause or lawful justification, acted in willful and/or reckless

  disregard of the constitutional rights of Cooper to be free from

  false arrest and false imprisonment, and did together and/or in

  combination with one or more of the other individual defendants

  deprived Cooper of such constitutional rights by placing Cooper



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  under arrest without probable cause to do so, transporting him

  to   the    90th   Precinct,    where   he     was   searched,     fingerprinted,

  photographed       and   denied   medical       treatment,    despite      knowing

  and/or not reasonably believing in the existence of probable

  cause at the time they arrested Cooper.

        73. Each of the defendants individually, and in concert

  with the others, acted under color of law in his/their official

  capacity,     to   deprive     Cooper   of     his   rights   to    freedom   from

  illegal searches and seizure of his person, papers, and effects

  and his rights to freedom from unlawful arrest, detention and

  imprisonment. All of the defendants while acting individually,

  jointly, and/or in conspiracy with each other, as well as under

  color of State law and within the scope of their employment,

  caused Cooper to be so arrested and imprisoned falsely and each

  was instrumental in the initiation and arrest of Cooper, which

  was the result of their having acted with malice or reckless

  indifference to Cooper’s constitutional rights.

        74.    The   defendants’    conduct       as   aforesaid     also   deprived

  Cooper of his rights under the Fifth and Fourteenth Amendments

  to the Constitution of the United States to liberty without due

  process of law and to the equal protection of the laws, and the

  due course of justice was impeded, in violation of the Fifth and

  Fourteenth Amendments of the Constitution of the United States,



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  all and in violation of 42 U.S.C. § 1983.

        75. Acting under the color of law, the defendants’ conduct

  as detailed above also deprived Cooper of his rights, privileges

  and immunities secured by the Fifth and Fourteenth Amendments to

  the Constitution of the United States, in violation of 42 U.S.C.

  § 1983.

        76. Schrell, Horun, Katrinic, Morales, Barnhart, and the

  John Doe Police officers further engaged in willful, wanton,

  malicious,     and       abusive       conduct        while     falsely       arresting    and

  imprisoning Cooper under the color of law that deprived Cooper

  of    constitutionally           protected         rights       under       the   Fourth    and

  Fourteenth Amendments of the United States Constitution.

        77.    The     arrest       of        Cooper     without        probable    cause    was

  designed to, and did, cause specific and serious bodily harm,

  pain and suffering to Cooper and deprived him of his right to be

  free from false arrest and false imprisonment, as guaranteed by

  the   Fourth       and    Fourteenth          Amendment         to    the     United    States

  Constitution, and was undertaken pursuant to the policies and

  practices    of     the    NYPD        in    its      90th    Precinct,      in   the    manner

  described above.

        78. As a direct and proximate result of the above-mentioned

  unconstitutional          acts     of       Schrell,         Horun,    Katrinic,       Morales,

  Barnhart and John Doe Police offers, Cooper was deprived of his



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  civil rights through false arrest, false imprisonment, abusive

  conduct, humiliation, and mistreatment.

        79.   Schrell,    Horun,    Katrinic,          Morales,     Barnhart     and   the

  John Doe Police Officers acted deliberately and their failure to

  act caused and contributed to Cooper’s false arrest and false

  imprisonment, thereby violating Cooper’s civil rights guaranteed

  by the Fourth and Fourteenth Amendments to be free from unlawful

  search and stop and seizures to the United States Constitution,

  for which redress is available under 42 U.S.C. § 1983, for the

  deprivation of such rights under color of State law.

        80.    Cooper    has   suffered,         and    will    continue    to    suffer

  damages     as   a    proximate     result       of     the      false   arrest      and

  imprisonment perpetrated upon him by Schrell, Horun, Katrinic,

  Morales, Barnhart, and the John Doe Police Officers including, a

  deprivation of rights and loss of freedom and reputation.

        81. As a direct and proximate result of the aforementioned

  unlawful    actions,    Cooper    has    suffered,         and    will   continue    to

  suffer,     damages   including     physical         and     emotional   injury      and

  psychological harm such as mental anguish, distress, humiliation

  and embarrassment affecting his psychological well-being, some

  or all of which may be permanent, as well as financial harm

  including     loss-profit     and    business         opportunities,         expending

  attorneys’ fees associated with his defense in the criminal case



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  and medical bills for the treatment of his injuries.

                                   COUNT II
                         42 U.S.C. §1983 FALSE ARREST

        82. Paragraphs “1.” through “81.” are repeated.

        83.   Pursuant    to     the    Fourth        Amendment      to   the     Federal

  Constitution,     it   is    clearly       established      law     that   an   arrest

  and/or imprisonment is unlawful when not supported by probable

  cause.

        84. Cooper was illegally taken to the 90th Precinct and

  falsely arrested and unlawfully restrained.

        85.   Cooper     was   arrested         by    Schrell,      Horun,      Katrinic,

  Morales,    Barnhart,    and   the     John        Doe   Police    Officers     without

  probable cause and without a warrant.

        86. The aforesaid arrest was implemented by Schrell, Horun,

  Katrinic, Morales, Barnhart, and the John Doe Police Officers,

  its agents, servants and employees, including but not limited to

  the police officers without a warrant and without any reasonable

  cause or belief that Cooper was in fact guilty of any crime.

        87. Schrell, Horun, Katrinic, Morales, Barnhart, and the

  John Doe Police Officers intentionally and without the right to

  do so, arrested Cooper who was aware of the arrest and did not

  consent to it.

        88.   Cooper's    arrest       was    unlawful      and     was   made    without




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  justification.

        89.    Based    on     the   facts      and   circumstances      presented,    a

  reasonably       prudent      person     would      not     believe     that    Cooper

  committed a crime.

                               COUNT III
     CONSPIRACY TO DEPRIVE PLAINTIFF OF HIS CONSTITUTIONAL RIGHTS
                        under 42 U.S.C. § 1983

        90. Paragraphs “1.” through “89.” are repeated.

        91.    After Cooper decided to try and press charges against

  Schrell, Ryan, Jacobs, Horun, Katrinic, Morales, and Barnhart

  reached     an   agreement     amongst      themselves      to   retaliate     against

  Cooper by framing him for a series of crimes he never committed

  to thereby deprive Cooper of his constitutional rights, all as

  described above.

        92.    Before    and    after     the    commencement      of    the   malicious

  prosecution, Schrell, Ryan, Jacobs, Horun, Katrinic, Morales,

  and Barnhart further conspired, and continue to conspire, to

  deprive Cooper of his constitutional rights to be free from

  false arrests, malicious prosecutions and unlawful, warrantless

  searches     and     seizures      by   purposely         concealing    information,

  submitting false information, making libelous statements to the

  Press and perjurious depositions to prevent Cooper’s exoneration

  of the false charges as described in detail above.

        93. In this manner, Schrell, Ryan, Jacobs, Horun, Katrinic,



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  Morales,     and       Barnhart       have    conspired      by     concerted       action       to

  accomplish an unlawful purpose by an unlawful means.

        94.    In     furtherance         of    the     conspiracy,         each    of    the     co-

  conspirators committed overt acts and was an otherwise willful

  participant        in    joint    activity.           The    misconduct          described       in

  this Count was undertaken with malice, willfulness, and reckless

  indifference to the rights of others.

        95.    As     described         above,     Schrell,         Ryan,     Jacobs,          Horun,

  Katrinic, Morales, and Barnhart also conspired and participated

  in   a     common       design    through        concerted         action,       directly        or

  indirectly, for the ulterior motives and purposes stated above.

  In    so    doing,       they     took        actions       in     furtherance          of     this

  conspiracy, causing injury to Cooper.

        96. The conspiratorial conduct described above, under color

  of   law,     deprived         Plaintiff        of     fundamental          liberty          rights

  guaranteed        to     him     by     the     First,       Fourth,       and     Fourteenth

  Amendments of the United States Constitution for which each is

  liable to him under 42 U.S.C. §1983 for damages.

        97.    As     a    direct       and     proximate          result    of     the    illicit

  agreement referenced above, Cooper's rights were violated, and

  he suffered physical harm, emotional distress and anguish, as

  well as financial damages, as is more fully alleged above.




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                             STATE CAUSES OF ACTION

                                  COUNT IV
            ASSAULT UNDER PENDENT JURISDICTION AGAINST O’CONNOR

        98. Paragraphs “1.” through “97.” are repeated.

        99. As a result of the conduct described above, Cooper was

  placed in apprehension of imminent harmful and offensive bodily

  contact.

        100. As a result of O’Connor’s conduct, Cooper has suffered

  physical pain and mental anguish, together with shock, fright,

  apprehension, embarrassment, and humiliation.

        101. As a result of the foregoing, Cooper is entitled to

  compensatory damages in an amount to be fixed by a jury, and is

  further    entitled   to   punitive    damages   against   O’Connor   in   an

  amount to be fixed by a jury, plus reasonable attorneys' fees,

  costs and disbursements of this action.

                                  COUNT V
            BATTERY UNDER PENDENT JURISDICTION AGAINST O’CONNOR

        102. Paragraphs “1.” through “101.” are repeated.

        103. O’Connor made offensive contact with Cooper without

  privilege or consent.

        104. As a result of O’Connor’s conduct, Cooper has suffered

  physical pain and mental anguish, together with shock, fright,

  apprehension, embarrassment, and humiliation.

        105. As a result of the foregoing, Cooper is entitled to



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  compensatory damages in an amount to be fixed by a jury, and is

  further    entitled   to   punitive    damages    against     the   individual

  defendants in an amount to be fixed by a jury, plus reasonable

  attorneys' fees, costs and disbursements of this action.

                                  COUNT VI
             ASSAULT UNDER PENDENT JURISDICTION AGAINST JACOBS

        106. Paragraphs “1.” through “105.” are repeated.

        107. As a result of the conduct described above, Cooper was

  placed in apprehension of imminent harmful and offensive bodily

  contact.

        108. As a result of Jacobs’ conduct, Cooper has suffered

  physical pain and mental anguish, together with shock, fright,

  apprehension, embarrassment, and humiliation.

        109. As a result of the foregoing, Cooper is entitled to

  compensatory damages in an amount to be fixed by a jury, and is

  further    entitled   to   punitive    damages    against     Jacob’s    in   an

  amount to be fixed by a jury, plus reasonable attorneys' fees,

  costs and disbursements of this action.

                                 COUNT VII
             BATTERY UNDER PENDENT JURISDICTION AGAINST JACOBS

        110. Paragraphs “1.” through “109.” are repeated.

        111.   Jacobs   made   offensive       contact   with   Cooper    without

  privilege or consent.

        112. As a result of Jacobs’ conduct, Cooper has suffered



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  physical pain and mental anguish, together with shock, fright,

  apprehension, embarrassment, and humiliation.

        113. As a result of the foregoing, Cooper is entitled to

  compensatory damages in an amount to be fixed by a jury, and is

  further    entitled   to   punitive    damages   against   the   individual

  defendants in an amount to be fixed by a jury, plus reasonable

  attorneys' fees, costs and disbursements of this action.

                                COUNT VIII
               LIBEL AND SLANDER UNDER PENDENT JURISDICTION

        114.   Paragraphs “1.” through “113.” are repeated.

        115. By the actions set forth above, knowing the charges

  against Cooper to be false, Ryan disseminated and published a

  completely false statement to the New York Post stating that

  Cooper punched Jacobs in the face causing bruising and swelling

  to Jacobs, which upon its face was per se false and defamatory.

        116. As a result of the foregoing, Cooper’s reputation has

  been permanently damaged and therefore Cooper is entitled to

  damages.

                                COUNT IX
     FALSE ARREST UNDER PENDENT JURISDICTION AGAINST NYC, SCHRELL,
                      AND JOHN DOE POLICE OFFICERS

        117. Paragraphs “1.” through “116.” are repeated.

        118. Cooper was wrongfully, unlawfully, and unjustifiably

  charged and arrested without a warrant and without any probable




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  cause.

        119.    NYC    is   responsible      because       at   all   relevant    times

  Schrell, Ryan, Jacobs, Horun, Katrinic, Morales, Barnhart and

  the John Doe Police Officers were employees of the NYPD and NYC,

  and   were    acting      within   the     scope    of    their     employment,    in

  furtherance of the business of NYPD and NYC. The individual

  defendants     Schrell,      Ryan,    Jacobs,      Horun,     Katrinic,    Morales,

  Barnhart and the John Doe Police Officers were acting pursuant

  to the authority conferred upon them by NYPD and NYC.

        120. As a result of the foregoing, Cooper is entitled to

  damages as described herein.



        WHEREFORE, Plaintiff requests judgment against all of the

  defendants:

        a) For compensatory damages in an amount to be determined

  at trial; and

        b) For punitive damages in an amount to be determined at

  trial; and

        c) For attorney Fees; and

        d)     For    the   allowable      costs     and   disbursements     of     this

  action; and

        e) Such other and further relief as may be just and proper.




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